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 8   S. O., by and through
     her guardian ad litem, LISA SZILAGYI and
 9   LINDA KARR O’CONNOR
10
                              UNITED STATES DISTRICT COURT
11
                             CENTRAL DISTRICT OF CALIFORNIA
12

13
      S. O., by and through                          CASE NO.
14    her guardian ad litem, LISA
      SZILAGYI, and LINDA KARR                       Civil Rights
15    O’CONNOR,
                                                     COMPLAINT FOR INJUNCTIVE
16                   Plaintiffs,                     RELIEF AND DAMAGES

17    v.                                                 1. Violation of the Americans
                                                            with Disabilities Act Title III
18    PROVIDENCE SAINT JOHN’S                               [42 U.S.C. § 12182, et seq.]
      HEALTH CENTER, a California
19    Corporation; PROVIDENCE HEALTH                     2. Violation of Section 504 of
      SYSTEM-SOUTHERN                                       The Rehabilitation Act [29
20    CALIFORNIA, a California                              U.S.C. § 794]
      Corporation; PROVIDENCE HEALTH
21    & SERVICES – WASHINGTON, a                         3. Violation of the Patient
      Washington Corporation and DOES 1-                    Protection and Affordable
22    50, inclusive.                                        Care Act [42 U.S.C. § 18116]

23                   Defendants.                         4. Violation of The California
                                                            Disabled Persons Act [Cal.
24                                                          Civil Code §§ 54, et seq.]

25                                                       5. Violation of the Unruh Act
                                                            [Cal. Civil Code § 51, et seq.]
26
                                                         6. Violation of California
27                                                          Government Code § 11135

28                                                   DEMAND FOR JURY TRIAL

      COMPLAINT FOR INJUNCTIVE RELIEF AND
      DAMAGES
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 1                                         INTRODUCTION
 2         1.       Plaintiff S.O. has multiple physical, intellectual and developmental
 3   disabilities. Because of her disabilities she is nonspeaking and uses assistive
 4   technology to communicate with others. She requires supervision by caregivers
 5   knowledgeable about her capabilities and trained in her communication modalities
 6   and equipment.
 7          2.      Defendants own and operate Providence Saint John’s Health Center in
 8   Santa Monica, California. They have repeatedly discriminated against S.O. by
 9   denying her effective communication and other reasonable accommodations of her
10   disabilities while she is a patient at the Hospital. Despite requests from S.O.’s
11   advocates to comply with federal and state anti-discrimination laws, Defendants
12   refuse to provide her the accommodations she needs when she is a patient.
13          3.      Defendants also discriminated against Plaintiff Linda Karr O’Connor,
14   who is S.O.’s mother, caregiver, and conservator. They retaliated against her and
15   coerced her to stop her from advocating for her daughter’s civil rights and health
16   care needs.
17          4.      This discrimination is likely to recur because Providence Saint John’s
18   Health Center is S.O.’s usual hospital, so both Plaintiffs are likely to return
19   numerous times. Defendants having rejected all pre-litigation efforts to settle the
20   case, Plaintiffs are forced to file this claim seeking injunctive relief and damages.
21

22                                         JURISDICTION
23          5.      This Court has jurisdiction over Plaintiffs’ claims brought under
24   federal law pursuant to 28 U.S.C. § 1331. This Court has supplemental jurisdiction
25   over Plaintiffs’ State law claims pursuant to 28 U.S.C. § 1367. The State law claims
26   are so related to the federal action that they form part of the same case or
27   controversy, and the actions would ordinarily be expected to be tried in one judicial
28   proceeding.
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 1                                               VENUE
 2          6.      Venue is proper in this court pursuant to 28 U.S.C. §1391(b) because
 3   Plaintiffs reside in this District, all Defendants are present in and/or perform official
 4   duties in this District and the events, acts and omissions giving rise to Plaintiffs’
 5   causes of action occurred in this District.
 6

 7                                         THE PARTIES
 8          7.      Plaintiff S.O. (“Plaintiff” or “S.O.”) is a 32-year-old woman with
 9   physical, intellectual and developmental disabilities. Because of these disabilities
10   she cannot perform activities of daily living in the same manner and speed as
11   people without disabilities, including walking, sitting, lying down, speaking,
12   communicating, and making decisions. She needs assistance with most activities of
13   daily living. She receives in home supportive services from the State of California
14   at the “protective supervision” level, which the state provides to people who cannot
15   safely be left alone.
16          8.      S.O. is nonspeaking and uses assistive devices to communicate with
17   others. Her primary mode of communication is the Picture Exchange
18   Communication System (PECS), a standard communication methodology operated
19   through a speech-generating device, which is an alternative assistive technology
20   (AAT). It is also referred to as alternative assistive communication (AAC). She
21   supplements the AAC with body language and facial clues.
22          9.      The speech-generating device S.O. uses is a medical device
23   programmed for her individualized needs. It incorporates a particular symbol set
24   familiar to S.O.
25          10.     S.O.’s caregivers and support persons are trained in the PECS
26   methodology and how to operate her device. They understand her communication
27   needs and style. The support persons’ training, coupled with their personal
28   relationship with S.O., enables them to understand S.O. and to facilitate
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 1   communication between her and other people.
 2          11.      Plaintiff Linda Karr O’Connor is S.O.’s mother and conservator.
 3          12.     Defendant Providence Saint John’s Health Center is a nonprofit
 4   corporation that owns, operates, and/or controls Saint John’s Health Center in Santa
 5   Monica, California, sometimes also known as Providence Saint John’s Health
 6   Clinic (“the Hospital”). The sole member of its corporation is Defendant
 7   Providence Health System-Southern California.
 8          13.     Defendant Providence Health System-Southern California is a
 9   California nonprofit corporation (“Providence Health System”). It is a medical
10   services provider responsible, upon information and belief based on publicly
11   available records, for establishing corporate policies and procedures for Defendants
12   here, including the Hospital. The sole member of its corporation is Defendant
13   Providence Health & Services – Washington.
14          14.     Defendant Providence Health & Services – Washington, is a
15   Washington State nonprofit corporation (“PH&S Washington”). It is the sole
16   member of Providence Health System-Southern California. On information and
17   belief based on publicly available records, PH&S Washington is responsible for
18   establishing, operating, managing and maintaining the facilities of Providence
19   Health System in southern California, including the Hospital. The Hospital’s
20   articles of incorporation require it to carry out the purposes of Defendant PH&S
21   Washington.
22          15.     Defendants offer secular medical services to members of the public
23   without regard to religious affiliation.
24          16.     Plaintiffs are informed and believe, and thereon allege, that Defendants
25   and each of them were at all times relevant to the action the owner, lessor, lessee,
26   franchiser, franchisee, general partner, limited partner, agent, employee,
27   representing partner, officer, director or joint venturer of the remaining Defendants
28   and were acting within the course and scope of that relationship. Plaintiffs are
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 1   further informed and believe, and thereon alleges, that each of the Defendants
 2   herein, including their managing agents and owners, gave consent to, ratified and/or
 3   authorized the acts alleged herein by each of the remaining Defendants.
 4

 5                  PLAINTIFF S.O.’s DISABILITY-RELATED NEEDS
 6          17.     The Hospital is located 1.5 miles from S.O.'s home. The Hospital
 7   accepts her insurance. Plaintiff’s primary care physicians are affiliated with the
 8   Hospital. As S.O.‘s conservator and authorized medical representative, Plaintiff
 9   Karr O’Connor has determined that this is the best location for S.O. to receive
10   medical care. She intends to continue taking S.O. to the Hospital whenever her
11   medical needs require.
12          18.     S.O. needs one caregiver with her at all times, due to her disabilities.
13   At medical visits, she needs two: A caregiver to attend to her needs, and her
14   mother, Plaintiff. Karr O’Connor, to act as her conservator and authorized medical
15   representative. At medical visits, Plaintiff Karr O’Connor cannot both serve this
16   role and care for S.O.’s ongoing needs. S.O. is not able to communicate effectively
17   with medical personnel by herself. She needs assistance from a caregiver to use her
18   AAC device. In addition, S.O. becomes upset and fearful when she is left alone or
19   finds herself in an unfamiliar location with no one around that she knows or trusts.
20   Having an additional caregiver/support person available ensures S.O. can
21   communicate and have her physical needs met at all times.
22

23                 DEFENDANTS' HOSPITAL STAFF REPEATEDLY DENY
                  PLAINTIFF’S DISABILITY-RELATED REASONABLE
24                        ACCOMMODATION REQUESTS
25          19.     On September 20, 2022, S.O. and her caregiver Ashley Rivera were
26   hit by a car while using a crosswalk. S.O. was transported to the Hospital
27   Emergency Room (ER) for a potential head injury.
28

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 1          20.     On information and belief, Defendants have a policy and/or practice
 2   that only one person may stay with a patient in the ER. Staff at the ER would not
 3   let both Plaintiff Karr O’Connor and Ms. Rivera stay in the ER triage area with
 4   S.O. Plaintiff Karr O’Connor requested that Ms. Rivera be allowed to stay in the
 5   triage area to provide treaters with information about S.O., and to help them
 6   communicate with S.O. Defendants denied Plaintiff Karr O’Connor’s request and
 7   removed Ms. Rivera from the triage area.
 8          21.     S.O. was not able to communicate with treaters or answer any
 9   questions from them, because she is nonverbal and uses alternate means of
10   communication with the support of a knowledgeable caregiver. Ms. Rivera is
11   adept at assisting S.O. to communicate. On information and belief, the treaters
12   had not met S.O. before, were not familiar with her baseline physical condition or
13   means of communication, and therefore were unable to receive any
14   communication from her. In addition, because the treaters were not familiar with
15   S.O.’s means of communication, she could not communicate anything to them.
16          22.     Ms. Rivera was the only speaking person who knew what happened
17   during and after the accident. S.O., because of her disabilities, could not
18   communicate to her treaters any information about how she was hit, how she felt
19   or behaved after being hit, or what treatment she received at the scene. S.O.’s
20   treaters never spoke with Ms. Rivera about any of those issues.
21          23.     S.O. was admitted to the Intensive Care Unit (ICU) for intracranial
22   bleeding.
23          24.     Once S.O. was admitted to ICU, the ICU staff allowed both Plaintiff
24   Karr O’Connor and a caregiver to stay with S.O. at all times. The ICU staff
25   granted Plaintiff Karr O’Connor’s request that S.O. be allowed to have two
26   caregivers with her at all times because, as one nurse stated, ICU staff were not
27   familiar with her baseline behaviors and did not understand her physical,
28

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 1   cognative or communication needs. The nurse said that under the circumstances, it
 2   was reasonable to modify the hospital‘s one-visitor policy.
 3          25.     An ICU nurses wrote his cell phone number on his business card and
 4   gave it to Plaintiff Karr O’Connor, telling her to have the front desk staff call him
 5   directly on his cell phone if she had any trouble getting back into the ICU because
 6   of the visitor policy.
 7          26.     At one point during S.O.’s hospital stay, Plaintiff Karr O’Connor left
 8   the ICU to pick up necessary items at home. While she was gone, medical staff
 9   called and told her she need to return as soon as possible because S.O. was about
10   to undergo an urgent procedure.
11          27.     When she returned to the hospital, however, Hospital security refused
12   to allow Plaintiff Karr O’Connor to go up to S.O.’s room, even though she
13   explained that ICU staff was allowing two caregivers at bedside because of S.O.’s
14   disabilities. Plaintiffs are informed and believe that the security guards were
15   employees and agents of Defendants and were acting upon Defendants’
16   instructions and/or policies.
17          28.     Plaintiff Karr O’Connor requested that the security guard call the
18   nurse, handing him the nurse’s business card. Security informed her that no one
19   answered their call. She asked specifically whether they called the cell phone
20   number on the business card, and was informed “yes”. Later, the nurse called
21   looking for her. She told him she had not been allowed up because he did not
22   answer the phone. He told her he did not receive any phone call from security, and
23   commented, “I hate it when they do that.”
24          29.     On December 6, 2022, S.O’s patella dislocated. Jessica Martinez,
25   S.O.’s caregiver, accompanied her in the ambulance to the Hospital ER. Plaintiff
26   Karr O’Connor drove to the hospital. Before she arrived, ER staff asked Ms.
27   Martinez questions about S.O.’s medical history. Ms. Martinez did not know the
28

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 1   answers, so she told them that PlaintifF Karr O’Connor could answer them when
 2   she arrived.
 3          30.     When she arrived, Plaintiff Karr O’Connor tried to give ER staff
 4   critical information about S.O.’s medical history. But the ER staff would not
 5   listen, insisting that she first go with a security guard to sign in as a visitor at the
 6   front desk. Plaintiff Karr O’Connor informed staff that she needed to stay with her
 7   daughter because she was the only person authorized to make medical decisions
 8   for S.O., but she would register when she was able. Staff insisted she leave the ER
 9   to register. She complied.
10          31.     While Plaintiff Karr O’Connor was registering outside the ER, Ms.
11   Martinez came out to switch places with her in compliance with ER staff
12   instructions that only one person could be in triage with S.O.. However, when
13   Plaintiff Karr O’Connor attempted to go to S.O., a security officer physically
14   barred her and told her that if she didn’t leave immediately she would not be
15   allowed to “visit” at all. Plaintiff Karr O’Connor started to pull out her her phone
16   in order to film the interaction. Security told her that if she started filming she
17   would never be allowed at the Hospital ever again. Afraid of what would happen
18   if she did not comply, Plaintiff Karr O’Connor returned to the waiting room,
19   leaving S.O. alone with no way to communicate with ER staff.
20          32.     Plaintiff Karr O’Connor attempted several times to obtain access to
21   S.O. by presenting the documentation showing she was S.O.’s conservator. She
22   also presented a California Department of Public Health (DPH) directive letter
23   issued on Janary 23, 2023, to all California licensed Medical facilities which
24   recommends that patients with physical, intellectual, and/or developmental
25   disabilities should be allowed two support persons at the same time “to ensure
26   support for their mental health and well-being.” Defendants’ staff refused to
27   review the information being presented to them.
28

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 1          33.     Plaintiff Karr O’Connor made a reasonable accommodation request
 2   on S.O.’s behalf that to accommodate her disability-related needs, S.O. be allowed
 3   two support persons at her bedside. ER and security repeatedly denied it.
 4          34.     Plaintiff Karr O’Connor then requested to speak with the nurse
 5   manager or the administrator responsible for disability accommodations. Although
 6   security staff told her the administrator would be there “momentarily”, no one
 7   came to speak with her.
 8          35.     The director of S.O.’s day program also went to the Hospital to
 9   advocate on S.O.'s behalf for the disability-related accommodation of two
10   caregivers to be present with S.O. in the ER. Defendants’ staff initially refused to
11   review the documentation she proffered. They refused to allow two people into the
12   ER with S.O. The director only prevailed after vociferous and vehement
13   advocacy.
14          36.     As a result of Defendants‘ behavior S.O. was was left alone for
15   approximately one hour in the triage area without anyone who could communicate
16   with her.
17          37.     When S.O. was eventually moved from the ER triage area to an ER
18   treatment room, hospital staff told Plaintiff Karr O’Connor she could meet S.O. in
19   the treatment room. But they would not allow S.O.’s other caregiver to be in the
20   room as well. It took extensive advocacy from S.O.’s day program director before
21   the hospital finally agreed to let a second person join S.O. in ER room.
22          38.     Plaintiff Karr O’Connor was finally permitted to see S.O., she found
23   that S.O.’s body was twisted. In addition, her left leg was twitching repeatedly in
24   a muscle contraction (her injury was on her right leg). Correct positioning is
25   essential to keep S.O. from being in discomfort or pain. Correct positioning is
26   something that S.O.’s caregivers know, but a stranger, even ER staff, would not
27   know. Ms. Karr O’Connor could tell right away that S.O. was in pain and extreme
28   emotional distress.
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  1          39.     Later, while S.O. was negotiating getting out of the hospital bed, a
  2   nurse —without informing anyone — lifted the back of the bed suddenly.
  3   Because S.O.’s medical condition renders her hypotonic, she does not have the
  4   muscle control to brace herself. The unexpected spring of the bed pitched her off
  5   balance. If S.O.’s caregivers had not been present, she would have been thrown
  6   off the bed onto the floor. This is an example of how S.O.’s care is idiosyncratic,
  7   not known to medical treaters who do not know her well. Having caregivers at her
  8   bedside is necessary to ensure that S.O. gets the medical and nursing treatment
  9   appropriate to her specific disability-related needs.
 10

 11            LEGAL ADVOCATES MAKE ADDITIONAL REASONABLE
            ACCOMMODATION REQUESTS ON S.O.’S BEHALF, WHICH
 12                      DEFENDANTS REJECT
 13          40.     Disability Rights California (DRC) is California‘s largest disability
 14   rights organization, a non-profit agency authorized by federal law to provide legal
 15   and advocacy support to Californians with disabilities. DRC’s work includes
 16   direct legal services, impact litigation, structured negotiation, policy advocacy,
 17   outreach, and community education.
 18          41.     On April 15, 2024, DRC sent a letter on Plaintiffs' behalf to Katina
 19   Thornock, Deputy General Counsel, whom Plaintiffs are informed and believe is
 20   an employee and/or agent of Defendants, and each of them. Her email address
 21   ends in @providence.org. The letter laid out the facts and informed Defendants
 22   that denying S.O.’s reasonable accommodation of two caregivers at bedside was a
 23   violation of federal and state antidiscrimination laws. The letter informed
 24   Defendants that the request to have two caregivers with S.O. at all times was a
 25   reasonable accommodation request and also is necessary to ensure that she has
 26   effective communication. DRC requested that Defendants modify its policies to
 27   grant the reasonable accommodation requests and ensure she has effective
 28   communication, as required by law.
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  1            42.    DRC concluded by offering to enter into structured negotiation, to
  2   resolve the dispute without litigation.
  3            43.    As of the filing of this Complaint, Defendants had not accepted the
  4   offer.
  5

  6                                           INJURIES
  7            44.    As a result of Defendants denying S.O.’s reasonable accommodation
  8   request to have two people with her at all times, S.O. was left alone when she was
  9   injured and in pain. She was unable to express her needs, or even to ask to have her
 10   mother and caregiver present to help her. She was left in physical pain and
 11   emotional distress.
 12            45.    Treaters were not able to get answers to the most basic questions an
 13   emergency patient is asked. On information and belief, the treaters did not even
 14   ask S.O. questions, or they tried, found they could not communicate, and did
 15   nothing to ensure communication. They treated her without having complete and
 16   accurate information about her baseline or her injuries. They provided her a lower
 17   level of care than a nondisabled person would have received. They violated her
 18   civil rights.
 19            46.    Plaintiff Kar O’Connor was subjected to opprobrium, threats and
 20   unwanted negative attention in public simply because she tried to advocate for her
 21   child, as was her moral and legal duty. Her civil rights were violated. She
 22   experienced emotional distress, extreme stress, and embarrassment, as well as
 23   anxiety, fear, and feelings of helplessness because she could not provide S.O. with
 24   the care S.O. needed.
 25            47.    Unless enjoined, Defendants will continue to engage in the unlawful
 26   acts and in the pattern or practice of discrimination described above. Plaintiffs have
 27   no adequate remedy at law. Plaintiffs are now suffering and will continue to suffer
 28   irreparable injury from Defendants’ acts and its pattern or practice of
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  1   discrimination unless relief is provided by the Court. Accordingly, Plaintiffs are
  2   entitled to injunctive relief.
  3
                                      FIRST CAUSE OF ACTION:
  4                     Violation of The Americans with Disabilities Act, Title III
                                        42 U.S.C. §§ 12182, et seq.
  5                             Against all Defendants as to Plaintiff S.O.
  6           48.     Plaintiffs incorporate by reference the preceding paragraphs as if fully
  7   set forth herein.
  8           49.     Defendants Providence Saint John and Providence Health System
  9   operate a hospital, which is a place of public accommodation as defined in 42 U.S.C.
 10   §§ 12181(7) (F). The Hospital operates from buildings located at 2121 Santa
 11   Monica Blvd, Santa Monica, CA. Its facilities are open to the general public.
 12           50.     Plaintiff S.O. is a person with a disability because she has a medical
 13   condition that affects her neurological and musculoskeletal systems. Her
 14   conditions substantially limits major life activities, including walking, sitting, lying
 15   down, speaking, communicating, and making decisions. She cannot perform these
 16   activities in the same manner, speed and duration when compared to the average
 17   person. Moreover, she has a history of or has been diagnosed and/or classified as
 18   having a physical impairment as required by 42 U.S.C. §12102(2)(A).
 19           51.     Title III of the ADA prohibits an entity that operates a place of public
 20   accommodation from discriminating on the basis of disability “directly or through
 21   contractual, licensing, or other arrangements.” 42 U.S.C. § 12182 (b)(1)(A)(i)-(iii);
 22   28 C.F.R. § 36.204. Hence, Defendants are each liable for their own discrimination
 23   as well as the discrimination of each other, performed by contract.
 24           52.     As owners and operators of a place of public accommodation,
 25   Defendants, and each of them, are required to provide S.O., as a disabled person,
 26   “full and equal enjoyment of [its] goods, services, facilities, privileges, advantages,
 27   or accommodations.”
 28

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              53.     As the owners and operators of a place of public accommodations,
  1
      Defendants must ensure that “no individual with a disability is excluded, denied
  2
      services, segregated or otherwise treated differently than other individuals because
  3
      of the absence of auxiliary aids and services.” 28 C.F.R. § 303(a). Public
  4
      accommodations must “furnish appropriate auxiliary aids and services where
  5
      necessary to ensure effective communication with individuals with disabilities.” 28
  6
      C.F.R. § 303(c). The term “auxiliary aids and services” refers to the methods in
  7
      which a public accommodation provides effective communication to the individual
  8
      benefiting from their services. This includes on-site qualified interpreters and
  9
      accessible electronic and information technology. 28 C.F.R. § 303(b).
 10
              54.      Because Plaintiff S.O. is a person with a developmental disability who
 11
      is nonverbal and uses AAC to communicate, Defendants are each required and
 12
      responsible to provide necessary accommodations in order to provide her equal
 13
      access to their programs, ensure effective communication and prevent exclusion,
 14
      segregation and the denial of services.
 15
              55.     Defendants were on notice that Plaintiff S.O. was a person with a
 16
      disability because her disabilities are visible, because her mother and conservator,
 17
      caregivers and advocates told them directly, and because they had access to her
 18
      medical records. Yet the Hospital failed and refused to make modifications to its
 19
      programs and services that she requires in order to experience effective
 20
      communication and equal access to Hospital services.
 21
              56.     Defendants, in providing and contracting for the provision of services
 22
      to Plaintiff S.O., each violate the ADA by, inter alia:
 23
              a.    Failing to ensure that their staff communicate effectively with her;
 24
              b.    Denying her the opportunity to participate in and benefit from their
 25
                    programs, facilities, accommodations and activities;
 26
              c.    Affording her an opportunity to participate in or benefit from
 27
                    Defendants’ programs, facilities, accommodations and activities that is
 28

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                    not equal to that afforded others;
  1
              d.    Providing her with programs, facilities, accommodations and activities
  2
                    that are not as effective in affording an equal opportunity to obtain the
  3
                    same result, to gain the same benefit, or to reach the same level of
  4
                    achievement as that provided to others;
  5
              e.    Failing to provide reasonable modifications in policies, practices, and
  6
                    procedures when the modifications are necessary to avoid discrimination
  7
                    on the basis of disability and to ensure equal access to Defendants’
  8
                    programs, facilities, accommodations and activities, and such
  9
                    modifications would not fundamentally alter the nature of the programs,
 10
                    facilities, accommodations and activities;
 11
              f.    Failing to take appropriate steps to ensure that communication with her
 12
                    is as effective as communication with others receiving the benefits of
 13
                    their programs, facilities, accommodations and activities;
 14
              g.    Failing to furnish her with appropriate accommodations necessary to
 15
                    afford her an equal opportunity to participate in and enjoy the benefits of
 16
                    their programs, facilities, accommodations and activities;
 17
              57.     Defendants’ violations of the ADA have harmed and will continue to
 18
      harm S.O. in the future.
 19
              58.     Because the discriminatory conduct is ongoing and likely to recur,
 20
      injunctive relief is an appropriate remedy. Pursuant to the remedies, procedures, and
 21
      rights set forth in 42 U.S.C. § 12188, Plaintiff prays for relief as set forth below.
 22

 23                              SECOND CAUSE OF ACTION:
 24
                    Violation of The Americans With Disabilities Act, Title III
                                    42 U.S.C. §§ 12182, et seq.
 25
                      Against all Defendants as to Plaintiff Karr O’Connor

 26           59.     Plaintiffs incorporate by reference the preceding paragraphs as if fully
 27   set forth herein.
 28

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             60.     The Americans with Disabilities act also prohibits retaliation,
  1
      interference, coercion and intimidation against any person who aids a disabled
  2
      person in asserting their rights under the ADA. 42 U.S.C. §12203 states:
  3

  4                  (a) Retaliation
  5                  No person shall discriminate against any individual
  6
                     because such individual has opposed any act or practice
                     made unlawful by this chapter or because such individual
  7
                     made a charge, testified, assisted, or participated in any
                     manner in an investigation, proceeding, or hearing under
  8
                     this chapter.

  9
                     (b) Interference, coercion, or intimidation

 10
                     It shall be unlawful to coerce, intimidate, threaten, or
                     interfere with any individual in the exercise or enjoyment
 11
                     of, or on account of his or her having exercised or
                     enjoyed, or on account of his or her having aided or
 12
                     encouraged any other individual in the exercise or
                     enjoyment of, any right granted or protected by this
 13
                     chapter.

 14
             61.     The actions of Hospital staff to prevent Plaintiff Karr O’Connor
 15
      advocating for her daughter’s reasonable accommodation needs, including
 16
      physically blocking her access and threatening to evict her from the hospital for
 17
      continuing to advocate for her daughter, and to ban her permanently if she tried to
 18
      document their behavior on video, were intended to, and did, intimidate and
 19
      coerce Plaintiff to stop advocating for her daughter, a person with a disability.
 20
      This behavior interfered with her on account of her having aided her daughter in
 21
      the exercise of her rights. This behavior constituted retaliation, intimidation and
 22
      coercion in violation of 42 U.S.C. §12203.
 23
             62.     Because the discriminatory conduct is ongoing and likely to recur,
 24
      injunctive relief is an appropriate remedy. Pursuant to the remedies, procedures,
 25
      and rights set forth in 42 U.S.C. § 12188, Plaintiff prays for relief as set forth
 26
      below.
 27

 28

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  1                                THIRD CAUSE OF ACTION:
                          Violation of Section 504 of The Rehabilitation Act
  2                                         29 U.S.C. § 794
                              Against All Defendants as to Plaintiff S.O.
  3

  4          63.     Plaintiffs incorporate by reference the preceding paragraphs as if fully
  5   set forth herein.
  6          64.     Section 504 of the Rehabilitation Act of 1973 (“Section 504”) provides
  7   in relevant part: “[N]o otherwise qualified individual with a disability shall, solely
  8   by reason of her or his disability, be excluded from the participation in, be denied
  9   the benefits of, or be subjected to discrimination under any program or activity
 10   receiving federal financial assistance” 29 U.S.C. § 794; 24 C.F.R. § 8.4(a). Federal
 11   financial assistance can be direct or indirect.
 12          65.     Plaintiffs are informed and believe that at all times relevant to the
 13   Complaint the Hospital is a recipient of federal financial assistance within the
 14   meaning of Section 504. The Hospital’s services are a “program or activity
 15   receiving Federal financial assistance” because it receives federal funding directly
 16   and indirectly through federal medical and social services programs to ensure the
 17   provision of its services. On information and belief, Defendants, and each of them,
 18   also receive federal financial assistance for their programs and activities at the
 19   Hospital.
 20          66.     Plaintiff S.O. is a qualified individual with a disability within the
 21   meaning of Section 504 and is otherwise qualified to participate in, receive benefits
 22   from, and/or apply for Defendants’ programs or activities pertaining to the Hospital.
 23   29 U.S.C. § 794(b). She has physical impairments that substantially limit one or
 24   more major life activities, including speaking.
 25          67.     Recipients of Federal financial assistance, including Defendants, are
 26   prohibited from denying a qualified person with a disability any health, welfare, or
 27   other social services or benefits on the basis of disability. 45 C.F.R. § 84.52(a)(1).
 28

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             68.     Recipients of Federal financial assistance, including Defendants, are
  1
      prohibited from affording a qualified individual with a disability an opportunity to
  2
      receive health, welfare, or other social services or benefits that is not equal to that
  3
      afforded people without disabilities. 45 C.F.R. § 84.52(a)(2).
  4
             69.     Recipients of Federal financial assistance, including Defendants, are
  5
      prohibited from providing a qualified person with a disability health, welfare, or
  6
      other social services or benefits that are not as effective as the benefits or services
  7
      provided to others on the basis of disability. 45 C.F.R. § 84.52(a)(3).
  8
             70.     Recipients of Federal financial assistance, including Defendants, are
  9
      prohibited from providing a qualified person with a disability any health, welfare,
 10
      or other social services or benefits in a manner that limits or has the effect of
 11
      limiting the participation of qualified individuals with disabilities. 45 C.F.R. §
 12
      84.52(a)(4).
 13
             71.     Recipients of Federal financial assistance, including Defendants, are
 14
      required to “provide appropriate auxiliary aids to persons with impaired sensory,
 15
      manual, or speaking skills, where necessary to afford such persons an equal
 16
      opportunity to benefit from [their] services.” 45 CFR § 84.52(b). Auxiliary aids
 17
      include permitting and facilitating the use of AAC devices for people who are
 18
      nonverbal.
 19
             72.     Recipients of Federal financial assistance, including Defendants, “shall
 20
      take appropriate steps to ensure that communications with applicants, participants,
 21
      members of the public, and companions with disabilities are as effective as
 22
      communications with others.” Id. § 84.77(a)(1).
 23
             73.     “In determining what types of auxiliary aids and services are
 24
      necessary, a recipient shall give primary consideration to the requests of individuals
 25
      with disabilities. In order to be effective, auxiliary aids and services must be
 26
      provided in accessible formats, in a timely manner, and in such a way as to protect
 27
      the privacy and independence of the individual with a disability.” Id. § 84.77(b)(2).
 28

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      Recipients may not require a companion to interpret for the person with a disability,
  1
      but are expected to permit companions to assist:
  2

  3                          (i)     In an emergency involving an imminent threat to the
                                     safety or welfare of an individual or the public where
  4                                  there is no interpreter available; or

  5

  6                          (ii)    When the individual with a disability specifically requests
                                     that the accompanying adult interpret or facilitate
  7                                  communication, the accompanying adult agrees to
                                     provide such assistance, and reliance on that adult for
  8                                  such assistance is appropriate under the circumstances.
  9   Id. § 84.77(c)(2).
 10          74.      Defendants, through their actions and omissions, denied and are
 11   continuing to deny Plaintiff S.O. the benefits of Defendants’ programs on the basis
 12   of her disabilities and thereby are subjecting her to the very discrimination Section
 13   504 seeks to prevent. Defendants violate Section 504 by, inter alia:
 14                a. Failing to ensure that Hospital staff communicate effectively with her;
 15                b. Denying her the opportunity to participate in and benefit from
 16                   Defendants’ services, programs, and activities in the Hospital;
 17                c. Affording her an opportunity to participate in or benefit from
 18                   Defendants’ aids, benefits, or services that is not equal to that afforded
 19                   others;
 20                d. Providing her with services that are not as effective in affording an
 21                   equal opportunity to obtain the same result, to gain the same benefit, or
 22                   to reach the same level of achievement as that provided to others;
 23                e. Failing to provide reasonable modifications in policies, practices, and
 24                   procedures when the modifications are necessary to avoid
 25                   discrimination on the basis of disability and to ensure equal access to
 26                   Defendants’ services, programs, and activities, and such modifications
 27                   would not fundamentally alter the nature of the services, programs, or
 28                   activities;

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      DAMAGES                                        18
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                   f. Failing to take appropriate steps to ensure that communication with her
  1
                      is as effective as communication with others receiving services
  2
                      through the regional center system; and/or
  3
                   g. Failing to furnish her with appropriate accommodations necessary to
  4
                      afford her an equal opportunity to participate in and enjoy the benefits
  5
                      of the Hospital, including allowing her to have a communication aide
  6
                      as requested, and two support people with her at all times, as
  7
                      requested.
  8
             75.      Defendants’ violation of Section 504 has harmed and will continue to
  9
      harm Plaintiff in the future.
 10
             76.      Because Defendants’ discriminatory conduct is ongoing and likely to
 11
      recur, injunctive relief is an appropriate remedy.
 12
             77.      Defendants have engaged in policies, practices and customs that
 13
      discriminate against disabled consumers on a programmatic and systemic basis. In
 14
      committing the acts and/or omissions described above, Defendants acted
 15
      intentionally and with deliberate indifference to Plaintiff’s rights.
 16
             78.      As a direct and proximate result of the discriminatory acts and
 17
      omissions of Defendants, Plaintiff has suffered actual harms and losses Plaintiff
 18
      seeks and is entitled to actual and compensatory damages.
 19
             79.      Pursuant to the remedies, procedures, and rights set forth in 29 U.S.C.
 20
      § 794(a), Plaintiff prays for relief as set forth below.
 21

 22                                  FOURTH CAUSE OF ACTION:
 23
                          Violation of California Government Code § 11135
                              Against All Defendants as to Plaintiff S.O.
 24          80.      Plaintiffs incorporate by reference the preceding paragraphs as if fully
 25   set forth herein.
 26          81.      Section 11135(a) of the California Government Code provides in
 27   relevant part: “No person in the State of California shall, on the basis of . . .
 28   disability, . . . be unlawfully denied the benefits of, or be unlawfully subjected to
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      discrimination under, any program or activity that is conducted, operated, or
  1
      administered by the state or by any state agency, is funded directly by the state, or
  2
      receives any financial assistance from the state.”
  3
             82.      The Hospital is “a program or activity that is conducted, operated, or
  4
      administered by the state or by any state agency, is funded directly by the state, or
  5
      receives any financial assistance from the state.”
  6
             83.      Plaintiffs are informed and believe, and on that basis allege, that the
  7
      Hospital and Defendants, and each of them, receive direct funding by the state
  8
      and/or other financial assistance from the state with respect to its administration of
  9
      their programs sufficient to invoke the coverage of Government Code § 11135 et
 10
      seq. The Hospital, and Defendants and each of them, have received such financial
 11
      assistance at all times relevant to the claims asserted in this Complaint.
 12
             84.      California Government Code § 11135(b) incorporates the protections
 13
      and prohibitions contained in the Americans with Disabilities Act and its
 14
      implementing regulations. In violating the ADA, Defendants have violated the
 15
      Government Code.
 16
             85.      Defendants have violated the terms of California Government Code §
 17
      11135(a) independently of their violation of the Americans with Disabilities Act.
 18
             86.      Defendants were on actual notice that Plaintiff S.O. is unable to
 19
      communicate without accommodations. Despite this, they refused to accommodate
 20
      her and provide effective communication in her medical care, such that she has
 21
      equal access to their program and services.
 22
             87.      Defendants violated and continue to violate Section 11135 by, inter
 23
             alia:
 24
                   a. Failing to ensure that Hospital staff communicate effectively with her;
 25
                   b. Denying her the opportunity to participate in and benefit from
 26
                      Defendants’ services, programs, and activities in the Hospital;
 27
                   c. Affording her an opportunity to participate in or benefit from
 28

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                      Defendants’ aids, benefits, or services that is not equal to that afforded
  1
                      others;
  2
                   d. Providing her with services that are not as effective in affording an
  3
                      equal opportunity to obtain the same result, to gain the same benefit, or
  4
                      to reach the same level of achievement as that provided to others;
  5
                   e. Failing to provide reasonable modifications in policies, practices, and
  6
                      procedures when the modifications are necessary to avoid
  7
                      discrimination on the basis of disability and to ensure equal access to
  8
                      Defendants’ services, programs, and activities, and such modifications
  9
                      would not fundamentally alter the nature of the services, programs, or
 10
                      activities;
 11
                   f. Failing to take appropriate steps to ensure that communication with her
 12
                      is as effective as communication with others receiving services
 13
                      through the regional center system; and/or
 14
                   g. Failing to furnish her with appropriate accommodations necessary to
 15
                      afford her an equal opportunity to participate in and enjoy the benefits
 16
                      of the Hospital, including allowing her to have a communication aide
 17
                      as requested, and two support people with her at all times, as
 18
                      requested.
 19
             88.      Defendants’ violations of Section 11135 have harmed and will
 20
      continue to harm Plaintiff in the future.
 21
             89.      Because the discriminatory conduct is ongoing, injunctive relief is an
 22
      appropriate remedy. Pursuant to the remedies, procedures, and rights set forth in
 23
      California Government Code § 11139, Plaintiffs pray for relief as set forth below.
 24

 25
      ///
 26
      ///
 27
      ///
 28

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  1

  2
                                      FIFTH CAUSE OF ACTION:
                                 Violation of The Unruh Civil Rights Act
  3
                                        Cal. Civil Code § 51 et seq.
                                Against All Defendants as to Plaintiff S.O.
  4          90.      Plaintiffs incorporate by reference the preceding paragraphs as if fully
  5   set forth herein.
  6          91.      The Unruh Civil Rights Act (“Unruh Act”) provides that “[a]ll persons
  7   within the jurisdiction of this state are free and equal, and no matter what their
  8   disability [or] medical condition are entitled to the full and equal accommodations,
  9   advantages, facilities, privileges, or services in all business establishments of every
 10   kind whatsoever.” Cal. Civ. Code § 51(b).
 11          92.      Defendants are each a non-profit business establishment, with
 12   business-like purposes. They own and operate a Hospital that charges fees for
 13   medical and other services. It has other businesslike attributes, such as written
 14   policies, human resources operations, and contractual relationships with vendors,
 15   all of which it conducts at arm’s length and in a standard, businesslike manner.
 16          93.      At all times relevant to this action, Plaintiff S.O. has been and is a
 17   qualified individual with a disability within the meaning of Cal. Gov’t Code §
 18   12926.
 19          94.      A violation of the ADA, as plead above against all Defendants, is a
 20   violation of Unruh. Civil Code § 51(f).
 21          95.      Plaintiffs also allege a violation of Unruh under Cal. Civil Code §
 22   51(b). Defendants, and each of them, violate the Unruh Act by, inter alia:
 23                a. Failing to ensure that Hospital staff communicate effectively with her;
 24                b. Denying her the opportunity to participate in and benefit from
 25                   Defendants’ services, programs, and activities in the Hospital;
 26                c. Affording her an opportunity to participate in or benefit from
 27                   Defendants’ aids, benefits, or services that is not equal to that afforded
 28                   others;
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                   d. Providing her with services that are not as effective in affording an
  1
                      equal opportunity to obtain the same result, to gain the same benefit, or
  2
                      to reach the same level of achievement as that provided to others;
  3
                   e. Failing to provide reasonable modifications in policies, practices, and
  4
                      procedures when the modifications are necessary to avoid
  5
                      discrimination on the basis of disability and to ensure equal access to
  6
                      Defendants’ services, programs, and activities, and such modifications
  7
                      would not fundamentally alter the nature of the services, programs, or
  8
                      activities;
  9
                   f. Failing to take appropriate steps to ensure that communication with her
 10
                      is as effective as communication with others receiving services
 11
                      through the regional center system; and/or
 12
                   g. Failing to furnish her with appropriate accommodations necessary to
 13
                      afford her an equal opportunity to participate in and enjoy the benefits
 14
                      of the Hospital, including allowing her to have a communication aide
 15
                      as requested, and two support people with her at all times, as
 16
                      requested.
 17
             96.      Defendants’ violations of the Unruh Act have harmed and will
 18
      continue to harm Plaintiff S.O. in the future. Because the discriminatory conduct is
 19
      ongoing and likely to recur, injunctive relief is an appropriate remedy.
 20
             97.      Defendants’ behavior constitutes intentional discrimination against
 21
      Plaintiff S.O. under the Unruh Act because it was willful and affirmative
 22
      misconduct. Despite Defendants’ actual knowledge that Plaintiffs is a person with
 23
      a disability who requires two support persons with her at all times, and requires
 24
      effective communication through AAC and a communication aide, Defendants
 25
      denied Plaintiffs these accommodations. They went to extreme lengths to deny the
 26
      accommodations, including refusing to look at documents proffered by S.O.’s
 27
      advocates, physically barring S.O.’s mother from the ER, and threatening her with
 28

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      eviction if she continued to assert her daughter’s rights.
  1
             98.     As a direct and proximate result of the discriminatory acts and
  2
      omissions of Defendants, Plaintiff S.O. has suffered actual harms and losses
  3
      including but not limited to physical injuries, physical and mental pain, fear,
  4
      degradation, and severe emotional distress. Plaintiff seeks and is entitled to actual,
  5
      compensatory and statutory damages for each incident of discrimination.
  6
             99.     Pursuant to the remedies, procedures, and rights set forth in California
  7
      Civil Code § 52, Plaintiffs prays for relief as set forth below.
  8

  9

 10
                                    SIXTH CAUSE OF ACTION
                                     Violation of The Unruh Act
 11
                                     Cal. Civil Code § 51 et. seq
                     Against All Defendants as to Plaintiff Linda Karr O’Connor
 12

 13          100. Plaintiffs incorporates by reference the preceding paragraphs as if

 14   fully set forth herein.

 15          101. The Unruh Act prohibits behavior in resistance to the exercise of the

 16   rights of a person with a disability under §52(c) of the Civil Code:

 17                  Whenever there is reasonable cause to believe that any
                     person or group of persons is engaged in conduct of
 18                  resistance to the full enjoyment of any of the rights
                     described in this section, and that conduct is of that nature
 19                  and is intended to deny the full exercise of those rights, .
                     . . any person aggrieved by the conduct may bring a civil
 20                  action in the appropriate court by filing with it a
                     complaint.
 21

 22          102. As previously pled, the Americans with Disabilities Act prohibits

 23   retaliation, intimidation, coercion and intimidation at 42 U.S.C.A. § 12203.

 24          103. A violation of the ADA is a violation of the Unruh Act under section

 25   51(f) of the California Civil Code, thus independently justifying an award of

 26   damages and injunctive relief pursuant to California law.

 27          104. Defendants have been engaged in conduct of resistance to Plaintiff

 28   S.O.’s exercise of her rights to full and equal access to the Hospital as a person

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      with a disability. Defendants have engaged in conduct of resistance against
  1
      Plaintiffs Karr O’Connor’s efforts to advocate on behalf of her daughter’s rights.
  2
      This conduct of resistance against her is a violation of section 52(c) of the Civil
  3
      Code.
  4
              105. Defendants’ behavior has subjected Plaintiffs Karr O’Connor to
  5
      retaliation, interference, coercion and/or intimidation due to her advocacy for her
  6
      daughter’s rights as a person with a disability. Such unlawful retaliation,
  7
      interference, coercion and/or intimidation under the ADA is a violation of
  8
      California law.
  9
              106. As a result of Defendants’ behavior, Plaintiffs Karr O’Connor has
 10
      suffered emotional distress, humiliation, unwanted negative attention and
 11
      unwarranted public disapprobation.
 12
              107. Plaintiff asserts both that she has standing in her own right to claim
 13
      violations of Civil Code §§51(c) and 51(f) as stated above, and that she has
 14
      standing through her association with her daughter, who is a person with a
 15
      disability. As to her associational standing, Plaintiff Karr O’Connor has been
 16
      directly harmed by Defendants’ retaliatory, interfering, coercive, intimidating and
 17
      resistive behavior, as a result of her association with her daughter.
 18
              108. Plaintiffs seek an injunction requiring Defendants to cease retaliatory,
 19
      interfering, coercive, intimidating and resistive behavior, and actual, treble and
 20
      statutory damages for each offense, under Civil Code §52(c).
 21

 22
                                  SEVENTH CAUSE OF ACTION
 23                       Violation of The California Disabled Persons Act
                                     Cal. Civil Code § 54 et. seq
 24                          Against All Defendants as to Plaintiff S.O.

 25           109. Plaintiffs incorporate by reference the preceding paragraphs as if fully
 26   set forth herein.
 27           110. The Disabled Persons Act (“DPA”) states:
 28                  Individuals with disabilities shall be entitled to full and
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      DAMAGES                                     25
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                     equal access, as other members of the general public to
  1                  accommodations, advantages, facilities, medical facilities,
                     including hospitals, clinics, and physicians’ offices, and
  2                  privileges of all …places of public accommodation…and
                     other places to which the general public is invited subject
  3                  only to the conditions and limitations established by law,
                     or state or federal regulation, and applicable alike to all
  4                  persons.
  5
      Cal. Civil Code § 54.1(a)(1).
  6
             111. The Hospital is a place of public accommodation within the meaning
  7
      of Cal. Civil Code § 54.1(a)(1).
  8
             112. Plaintiff S.O. is a person with a disability within the meaning of Cal.
  9
      Civil Code § 54.
 10
             113. Defendants each have and continue to violate the DPA by, inter alia:
 11
                 a. Failing to ensure that Hospital staff communicate effectively with her;
 12
                 b. Denying her the opportunity to participate in and benefit from
 13
                     Defendants’ services, programs, and activities in the Hospital;
 14
                 c. Affording her an opportunity to participate in or benefit from
 15
                     Defendants’ aids, benefits, or services that is not equal to that afforded
 16
                     others;
 17
                 d. Providing her with services that are not as effective in affording an
 18
                     equal opportunity to obtain the same result, to gain the same benefit, or
 19
                     to reach the same level of achievement as that provided to others;
 20
                 e. Failing to provide reasonable modifications in policies, practices, and
 21
                     procedures when the modifications are necessary to avoid
 22
                     discrimination on the basis of disability and to ensure equal access to
 23
                     Defendants’ services, programs, and activities, and such modifications
 24
                     would not fundamentally alter the nature of the services, programs, or
 25
                     activities;
 26
                 f. Failing to take appropriate steps to ensure that communication with her
 27
                     is as effective as communication with others receiving services
 28

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                     through the regional center system; and/or
  1
                 g. Failing to furnish her with appropriate accommodations necessary to
  2
                     afford her an equal opportunity to participate in and enjoy the benefits
  3
                     of the Hospital, including allowing her to have a communication aide
  4
                     as requested, and two support people with her at all times, as
  5
                     requested.
  6
             114. Plaintiff also alleges a violation of the ADA as incorporated into the
  7
      DPA, Cal. Civil Code § 54.1(d), by all Defendants.
  8
             115. As a direct and proximate result of the discriminatory acts and
  9
      omissions of Defendants, Plaintiff S.O. has suffered actual harms and losses
 10
      including but not limited to physical injuries, physical and mental pain, fear,
 11
      degradation, and severe emotional distress. Plaintiff seeks and is entitled to actual,
 12
      compensatory and statutory damages for each incident of discrimination.
 13
             116. Plaintiff does not request any injunctive relief pursuant to California
 14
      Civil Code section 55.
 15
             117. Pursuant to the remedies, procedures, and rights set forth in California
 16
      Civil Code § 54.3, Plaintiffs prays for relief as set forth below.
 17

 18                               EIGHTH CAUSE OF ACTION
 19
                         Violation of The California Disabled Persons Act
                                     Cal. Civil Code § 54 et. seq
 20
                    Against All Defendants As to Plaintiff Linda Karr O’Connor

 21          118. Plaintiffs incorporate by reference the preceding paragraphs as if fully
 22
      set forth herein.
             119. Defendants, and each of them, have discriminated against Plaintiff
 23
      Karr O’Connor and violated her rights under the Disabled Persons Act, §§54 and
 24
      54.1 of the California Civil Code.
 25
             120. As previously pled, the Americans with Disabilities Act prohibits
 26
      retaliation, intimidation, coercion and intimidation. 42 U.S.C.A. § 12203. A
 27
      violation of the ADA is a violation of the Disabled Persons Act under section
 28

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      54.1(a)(3) of the California Civil Code, thus independently justifying an award of
  1
      damages and injunctive relief pursuant to California law.
  2
             121. The behavior of Defendants has subjected Plaintiffs to retaliation,
  3
      interference, coercion and/or intimidation due to her advocacy for her daughter’s
  4
      rights as a person with a disability. Such unlawful retaliation, interference,
  5
      coercion and/or intimidation under the ADA is a violation of California law.
  6
             122. As a result of Defendants’ behavior, Plaintiff Karr O’Connor has
  7
      suffered emotional distress, humiliation, unwanted negative attention and
  8
      unwarranted public disapprobation.
  9
             123. Plaintiff asserts both that she has standing in her own right to claim
 10
      violations of Civil Code section 54.1(a)(3) as stated above, and that she has
 11
      standing through her association with her daughter, who is a person with a
 12
      disability. As to her associational standing, Plaintiff alleges that she has been
 13
      directly harmed by Defendants’ retaliatory, interfering, coercive and intimidating
 14
      behavior, as a result of her association with her daughter.
 15
             124. Plaintiff seeks actual, treble and statutory damages for each offense
 16
      under Civil Code section 54.3. She does not seek an injunction under Civil Code
 17
      section 55.
 18

 19
                        NINTH CAUSE OF ACTION
 20     VIOLATION OF THE PATIENT PROTECTION AND AFFORDABLE
 21
                                  CARE ACT
                               42 U.S.C. § 18116
 22               Against All Defendants as to both Plaintiffs
 23          125. Plaintiffs incorporate by reference the preceding paragraphs as if
 24   fully set forth herein.
 25          126. At all times relevant to this action, the ACA incorporated the
 26   definition of disability in the Rehabilitation Act, 29 U.S.C. § 705(9). Plaintiff S.O.
 27   is a person with a disability as defined by the Rehab Act and incorporated into the
 28   ACA, 42 U.S.C. § 18116.

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             127. At all times relevant to this action, Defendants, and each of them,
  1
      received federal financial assistance, including Medicare and/or Medicaid
  2
      reimbursements, and have been principally engaged in the business of providing
  3
      health care. Therefore, Defendants, and each of them, are health programs or
  4
      activities receiving federal financial assistance pursuant to 42 U.S.C. § 18116(a).
  5
             128. Pursuant to the ACA, “an individual shall not, on the ground
  6
      prohibited under . . . section 504 of the Rehabilitation Act of 1973 (29 U.S.C. §
  7
      794), be excluded from participation in, be denied the benefits of, or be subjected
  8
      to discrimination under, any health program or activity, any part of which is
  9
      receiving Federal financial assistance.” 42 U.S.C. § 18116.
 10
             129. Federal regulations implementing the ACA provide that “[a] covered
 11
      entity shall take appropriate steps to ensure that communications with individuals
 12
      with disabilities are as effective as communications with others in health programs
 13
      and activities. . . .” 45 C.F.R.§ 92.202(a).
 14
             130. Federal regulations implementing the ACA provide that “(1) A
 15
      [covered] entity shall furnish appropriate auxiliary aids and services where
 16
      necessary to afford individuals with disabilities, including applicants, participants,
 17
      companions, and members of the public, an equal opportunity to participate in,
 18
      and enjoy the benefits of, a service, program, or activity of a [covered] entity. . . .
 19
      In determining what types of auxiliary aids and services are necessary, a public
 20
      entity shall give primary consideration to the requests of individuals with
 21
      disabilities. In order to be effective, auxiliary aids and services must be provided
 22
      in accessible formats, in a timely manner, and in such a way as to protect the
 23
      privacy and independence of the individual with a disability.” 45 C.F.R.§
 24
      92.202(a); 28 C.F.R. § 35.160(b).
 25
             131. Defendants discriminated against Plaintiff S.O. on the basis of her
 26
      disabilities in violation of the ACA and its implementing regulations, denying her
 27
      meaningful access to the services, program, and benefits that UCLA Health offers
 28

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      to other individuals, by refusing to provide reasonable accommodations and
  1
      auxiliary aids and services necessary to ensure effective communication in
  2
      violation of the ACA, 42 U.S.C. § 18116.
  3
             132. The ACA, by incorporating the enforcement mechanism of the
  4
      Rehabilitation Act, extends a cause of action to “any person aggrieved” by
  5
      discrimination in violation thereof. 42 U.S.C. § 18116(a). Plaintiff Karr O’Connor
  6
      is a person “aggrieved” by the discrimination against Plaintiff S.O.
  7
             133. Defendants, and each of them, caused direct injury to Plaintiff Karr
  8
      O’Connor that is separate from the discrimination against her daughter by barring
  9
      her from seeing her daughter during emergency treatment, subjecting her to public
 10
      disapprobation, and threatening her with eviction and a permanent ban for
 11
      advocating for her daughter’s rights under the ACA.
 12
             134. Defendants have failed to implement policies, procedures, and
 13
      training of staff necessary to ensure compliance with the ACA. As set out above,
 14
      absent injunctive relief, there is a clear risk that Defendants’ actions will recur
 15
      again with Plaintiffs and other disabled patients and their companions.
 16
             135. Plaintiffs are therefore entitled to injunctive relief; attorney’s fees,
 17
      costs, and disbursements; and compensatory damages for the injuries and loss they
 18
      sustained as a result of Defendants’ discriminatory conduct and deliberate
 19
      indifference as hereinbefore alleged, pursuant to 42 U.S.C. § 18116(a).
 20
             WHEREFORE, Plaintiffs request relief as outlined below.
 21

 22                                           PRAYER
 23          Plaintiffs have no adequate remedy at law to redress the wrongs suffered as
 24   set forth in this Complaint. Plaintiffs have suffered and will continue to suffer
 25   irreparable injury as a result of the unlawful acts, omissions, policies, and practices
 26   of Defendants as alleged herein, unless they are granted the relief they request.
 27

 28

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              WHEREFORE, Plaintiffs pray for judgment and the following specific relief
  1
      against Defendants:
  2
              1.      For a declaratory judgment, pursuant to Rule 57 of the Federal Rules
  3
      of Civil Procedure, stating that Defendants’ practices, policies and procedures
  4
      subjected Plaintiffs to unlawful discrimination in violation of Title III of the
  5
      Americans with Disabilities Act, Section 504 of the Rehabilitation Act, Section
  6
      1557 of the Patient Protection and Affordable Care Act, and pendant state law.
  7
              2.      For Causes of Action one through five only, for an order enjoining
  8
      Defendants, their agents, officials, employees, and all persons acting in concert with
  9
      them:
 10
                   a. From continuing the unlawful acts, policies and practices described in
 11
                      this Complaint;
 12
                   b. To immediately begin allowing Plaintiff S.O. to have her caregivers
 13
                      and interpreters with her when she is at the Hospital, to ensure she
 14
                      receives adequate healthcare for any other medical issues;
 15
                   c. To cease discrimination against Plaintiff S.O. and all other similarly
 16
                      situated disabled patients requiring assistive technology and aides to
 17
                      communicate effectively during hospital services;
 18
                   d. Train each of Defendants’ employees and agents in accommodating
 19
                      the rights and needs of disabled persons;
 20
                   e. Implement nondiscriminatory protocols, policies, and practices for
 21
                      accommodating persons who are disabled and nonverbal; and
 22
                   f. To retain jurisdiction over the Defendants until such time as the Court
 23
                      is satisfied that Defendants’ unlawful policies, practices, acts and
 24
                      omissions, as complained of herein no longer occur and cannot
 25
                      reoccur.
 26
              3.       Plaintiffs do not seek injunctive relief under Civil Code section 55.
 27
              4.       Award to Plaintiffs all appropriate damages, including but not limited
 28

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      to statutory damages, general damages, treble damages and punitive damages in
  1
      amounts within the jurisdiction of the Court, all according to proof;
  2
             5.       Award to Plaintiffs all reasonable statutory attorney fees, litigation
  3
      expenses, and costs of this proceeding as provided by federal and state law;
  4
             6.        Award prejudgment interest pursuant to California Civil Code §
  5
      3291; and
  6
             7.       Grant such other and further relief as this Court may deem just and
  7
      proper.
  8

  9
      Date: December 5, 2024                     McGUINNESS LAW GROUP, PC
 10                                                 /s/ Celia McGuinness
 11                                              By CELIA McGUINNESS, Esq.
                                                 Attorneys for Plaintiffs
 12                                              S.O. by and through her Guardian ad Litem,
                                                 LISA SZILAGYI
 13                                              LINDA KARR O'CONNOR
 14

 15
                                            DEMAND FOR JURY
 16
             Plaintiffs hereby demand a jury for all claims for which a jury is permitted.
 17

 18
      Date: December 5, 2024                      McGUINNESS LAW GROUP, PC
 19
                                                   /s/Celia McGuinness
 20                                              By CELIA McGUINNESS, Esq.
 21                                              Attorneys for Plaintiffs
                                                 S.O. by and through her Guardian ad Litem
 22                                              LISA SZILAGYI
                                                 LINDA KARR O'CONNOR
 23

 24

 25

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